   Case 18-10359         Doc 42      Filed 05/18/18 Entered 05/18/18 09:52:10                 Desc Main
                                       Document     Page 1 of 2


                              UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MASSACHUSETTS
                                      EASTERN DIVISION

 In Re:                                                   Case Number 18-10359-FJB
 Eric J. Dixon and Kerri G. Dixon                         Chapter 7

                   ASSENTED TO MOTION TO CONTINUE HEARING REGARDING
                   MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
                     FOR RELIEF FROM THE AUTOMATIC STAY [DOC. NO. 19]

          Now comes Nationstar Mortgage LLC d/b/a Mr. Cooper (“Secured Creditor”) and respectfully

requests that the hearing currently scheduled for Wednesday, May 23, 2018 at 10AM be continued for an

additional period of approximately thirty (30) days, or to some other date and time that this Court deems

just and proper.

          As grounds for this Motion, Secured Creditor states that the Debtors, by and through their

counsel, have indicated an intent to sell the subject property forthwith. The Debtors anticipate that a

purchase and sale agreement will be executed by the end of next week, and that the sale can be

consummated by mid-June. It is believed that the proceeds from the sale will be sufficient to payoff

Secured Creditor’s total debt claim in its entirety.

          Wherefore, Secured Creditor respectfully requests that the hearing on this matter be continued for

an additional period of approximately thirty (30) days. Debtor’s Counsel, Attorney Anthony Frate, has

assented to the filing of this Motion.


Dated: May 18, 2018

                                                   Respectfully submitted,
                                                   Nationstar Mortgage LLC d/b/a Mr. Cooper
                                                   By its attorney,

                                                   /s/ Marcus Pratt
                                                   Marcus Pratt, Esquire
                                                   BBO #684610
                                                   Korde & Associates, P.C.
                                                   900 Chelmsford Street, Suite 3102
                                                   Lowell, MA 01851
                                                   Tel: (978) 256-1500
                                                   bankruptcy@kordeassociates.com



17-029428 / BK01
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                                      Document     Page 2 of 2


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                                     CERTIFICATE OF SERVICE

        I, Marcus Pratt, Attorney for Nationstar Mortgage LLC d/b/a Mr. Cooper hereby certify that
on May 18, 2018 I electronically filed the foregoing Assented to Motion to Continue with the United
States Bankruptcy Court for the District of MA using the CM/ECF System. I served the forgoing
documents on the following CM/ECF participants:

John Fitzgerald, Assistant U.S. Trustee
John Aquino, Trustee
Anthony Frate, Esquire

        I certify that I have mailed by first class mail, postage prepaid the documents electronically filed
with the Court on the following non-CM/ECF participants:

 Eric J. Dixon                                     Tax Collector:
 14 Bay Street                                     Town of Wakefield, MA
 Wakefield, MA 01880                               1 Lafayette Street
                                                   Wakefield, MA 01880
 Kerri G. Dixon
 14 Bay Street
 Wakefield, MA 01880
                                                  /s/ Marcus Pratt
                                                  Marcus Pratt, Esquire
                                                  BBO #684610
                                                  Korde & Associates, P.C.
                                                  900 Chelmsford Street, Suite 3102
                                                  Lowell, MA 01851
                                                  Tel: (978) 256-1500
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17-029428 / BK01
